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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF KENTUCKY
                      BOWLING GREEN DIVISION
________________________________________________________________
                                       )
BURKESVILLE HARDWOODS, LLC             )
                                       )
                 PLAINTIFF             ) Civil Action No. 1:18cv-00018-GNS
v.                                                ) JUDGE GREG N. STIVERS
                                       )
TRAVIS COOMER;                         )
UNKNOWN DEFENDANT 1; and,              )
UNKNOWN DEFENDANT 2                    )
                                       )
                 DEFENDANTS            )
_____________________________________________________________

                                SCHEDULING ORDER


       A     scheduling    conference      was     conducted     in    this    action    on

April 16, 2018, with the undersigned presiding. Participating in the conference were

Harlan E. Judd, III, for the Plaintiff and Hunter Durham for the Defendant.

       The Court has reviewed the joint report submitted by the parties of their proposed

litigation plan, has considered the statements by counsel during the conference, and

pursuant to Fed. R. Civ. P. 16, does HEREBY ORDER AND ADJUDGE AS

FOLLOWS:

       (1)    No later than April 30, 2018, counsel for the parties shall have made all

initial disclosures required of Fed. R. Civ. P. 26(a)(1). The parties are under a continuing

duty to supplement their disclosures and responses as required by Rule 26(e) whenever

necessary during the entire course of this litigation. Supplementations shall be made

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within thirty days of first learning of the need to supplement, but no later than thirty

days prior to the end of discovery.

               The parties are hereby informed that no witness not previously

disclosed as one likely to have discoverasble information under Fed. R. Civ. P.

26(a)(1)(A)(i), and no exhibit which has not been provided under Fed. R. Civ. P.

26(a)(1)(A)(ii), shall be allowed on the final witness and exhibit list, unless the

failure was substantially justified or is harmless. The Court will order the filing of

final witness and exhibit lists when this case is set for trial.

       (2)     No later than January 2, 2019, the parties shall file all motions to join

additional parties. All motions to amend the pleadings shall be filed by the parties

no later than January 15, 2019.

       (3)     No later than April 1, 2019, counsel for the Plaintiff shall disclose the

identity of any person who may be used at trial to provide expert testimony under

Fed. R. Civ. P. 26(a)(2)(A). By that date, Plaintiff shall submit written reports from any

expert witnesses who are retained or specially employed as required by Fed. R. Civ. P.

 26(a)(2)(B). If the witness is not required to provide a written report, Plaintiff’s

disclosure shall include for each witness the subject matter on which the witness is

expected to present evidence under Fed. R. Evid. 702, 703 or 705 and a summary of the

facts and opinions to which the witness is expected to testify, in conformance with Fed.

R. Civ. P. 26(a)(2)(C).



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       (4)    No later than May 1, 2019, counsel for the Defendant shall disclose the

identity of any person who may be used at trial to provide expert testimony under Fed. R.

Civ. P. 26(a)(2)(A). By that date, Defendant shall submit written reports from any expert

witnesses who are retained or specially employed as required by Fed. R. Civ. P.

26(a)(2)(B). If the witness is not required to provide a written report, Defendant’s

disclosure shall include for each witness the subject matter on which the witness is

expected to present evidence under Fed. R. Evid. 702, 703 or 705 and a summary of the

facts and opinions to which the witness is expected to testify, in conformance with Fed.

R. Civ. P. 26(a)(2)(C).

       (5)    No later than February 15, 2019, the parties shall complete all pretrial

fact discovery. The discovery depositions of all expert witnesses shall be completed no

later than June 1, 2019. All written discovery requests shall be submitted to the

opposing parties so that the due date is in advance of the discovery deadline. Motions

pertaining to unresolved discovery and scheduling disputes may not be filed without

first having a joint telephonic conference with the Magistrate Judge arranged

through      his   courtroom    deputy,    Kelly    Lovell,    at   270-393-2507,     or

kelly_lovell@kywd.uscourts.gov. Any agreed amendments to the Scheduling Order

shall be submitted to the Court in the form of an agreed order. ALL MOTIONS

PERTAINING TO DISCOVERY SHALL BE FILED NO LATER THAN

FIFTEEN (15) DAYS AFTER THE CLOSE OF ALL DISCOVERY.



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              Non-waiver of attorney-client privilege or work-product protection.

Pursuant to Fed. R. Evid. 502(d), neither the attorney-client privilege nor work-product

protection are waived by disclosure connected with this litigation. Further, the disclosure

in this action shall not operate as a waiver in any other federal or state proceeding. As

defined in Fed. R. Evid. 502(g), “attorney-client privilege” means the protection that

applicable law provides for confidential attorney-client communications; and “work-

product protection” means the protection that applicable law provides for tangible

material (or its intangible equivalent) prepared in anticipation of litigation or for trial.

              Unless otherwise agreed to by counsel, the use of all deposition testimony

shall be governed by Fed. R. Civ. P. 32, and all depositions taken for trial purposes only

shall be completed not later than 60 days prior to trial.

       (6)    No later than July 1, 2019, counsel for the parties shall file all dispositive

motions. This same date is the filing deadline for motions related to the admissibility of

expert testimony pursuant to Federal Rule of Evidence 702 (Daubert motions).

       (7)    All other limitations set forth in the Report of Parties’ Planning Meeting

(DN 10), to the extent they are not inconsistent with this Order, are incorporated herein.

       (8)    In the event discovery is completed and neither party anticipates filing

dispositive motions, or in the event no dispositive motions are filed by the deadline,

counsel shall notify the Magistrate Judge’s Courtroom Deputy and the case will be set for

a status conference. Upon resolution of any dispositive motions which are filed, the court



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will enter appropriate orders regarding the scheduling of this case toward final resolution,

if necessary.

         (9)    A telephonic status conference shall be conducted on June 7, 2019, at 9:00

a.m., CDT. The Court will initiate the call. If the parties agree to amendment of the

deadlines established by this or any subsequent scheduling order, they may tender

an agreed order. Agreed orders may not extend deadlines “in general” or “until

further orders of the court,” and must contain specific deadlines dates.

         (10)   Counsel for the parties shall contact Kelly Lovell to schedule this matter for

a settlement conference.

         ENTERED this April 16, 2018




Copies to:      Counsel of Record


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